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MINUTE ENTRY
FELDMAN, J.
May 14, 2019
                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

RICHARD J. TURNER, ET AL                                   *       CIVIL ACTION

VERSUS                                                     *       NO. 18-2851

CHRISTOPHER C. COOK, ET AL                                 *       SECTION "F"


      A status conference was held on May 14, 2019. This case was originally

scheduled for a pre-trial conference on this date with a jury trial to commence on June

3, 2019, but it was converted into a status conference.

      Present:

      Guy D. Perrier, Esquire          Dustin L. Poche', Esquire
      Edwin Shorty, Esquire            Hope Harper, Esquire
      Nathan Chiantella


      IT IS ORDERED:

      This matter is administratively closed pending an appropriate investigation by

the United States Attorney’s Office into the propriety of the defendants’ assertion that

the plaintiffs’ claims are fraudulent. Upon the completion of that investigation, either

side may move to reopen this case, at which time a new civil trial date will be set.

The Clerk of Court shall send a copy of this order to Assistant U.S. Attorney Brian

Klebba.




JS10: 20 min.
